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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

PETER LYLE,
                                                   Case No.: 1:21-cv-05682-RA
                              Plaintiff,

               v.

CONSTELLATION PHARMACEUTICALS,
INC., JIGAR RAYTHATHA, SCOTT N.
BRAUNSTEIN, MARK A. GOLDSMITH,
RICHARD S. LEVY, ELIZABETH G.
TRÉHU, JAMES E. AUDIA, and STEVEN L.
HOERTER,

                              Defendants.


                          NOTICE OF VOLUNTARY DISMISSAL

       Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff voluntarily dismisses his claims in the above-captioned action against

Defendants as moot. This notice of dismissal is being filed with the Court before service by

Defendants of either an answer or a motion for summary judgment.


Dated: August 26, 2021                          MONTEVERDE & ASSOCIATES PC

                                                /s/ Juan E. Monteverde
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